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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO.: 18-CV-24236

 JOSE A. GONZALEZ,

          Plaintiff,

 vs.

 TREMONT TOWING, INC. and
 MANNY E. DIAZ, JR.,

       Defendants.
 ______________________________/

                                            COMPLAINT

          Plaintiff, Jose A. Gonzalez, sues Defendants, Tremont Towing, Inc. and Manny E. Diaz,

 Jr., based as follows:

                                 Parties, Jurisdiction, and Venue

          1.      Plaintiff, Jose A. Gonzalez, is a sui juris resident of Miami-Dade County,

 Florida, who is over 18 years old and consents to participate in this lawsuit.

          2.      Defendant, Tremont Towing, Inc., is a for profit Florida corporation that is

 sui juris and has operated its business here, in Miami-Dade County, Florida, at all times material.

          3.      Defendant, Manny E. Diaz, Jr., was and is an owner and operator of the

 corporate Defendant for the relevant time period. He ran its day-to-day operations, had

 supervisory authority over Plaintiff, and was partially or totally responsible for paying Plaintiff’s

 wages.

          4.      Defendants were Plaintiff’s direct employers, joint employers and co-employers, as

 that term “employer” is defined by 29 U.S.C. §203 (d).

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        5.         Both Defendants employed Plaintiff.

        6.         This Court has subject matter jurisdiction pursuant to 28 U.S.C. §1331, as

 Plaintiff’s claim for relief arises from a federal statute, namely the Fair Labor Standards Act of

 1938 (as amended), 29 U.S.C. §203 et seq. (the “FLSA”).

        7.         Venue is proper in this Court pursuant to 28 U.S.C. §1391(b)(2) because

 Defendants transact business in Miami-Dade County, maintain their office and principal place of

 business and/or live in Miami-Dade County, and also employed Plaintiff in Miami-Dade

 County, with most of the actions complained of occurring within Miami-Dade County.

                            Common Background Factual Allegations

        8.         Defendants regularly employed two or more employees for the relevant time

 period that handled goods or materials that travelled through interstate commerce, or used

 instrumentalities of interstate commerce, thus making Defendants’ business an enterprise covered

 under the Fair Labor Standards Act.

        9.         In particular, Defendants own an operate a towing company that utilizes tow

 trucks, machinery, automotive products, computers, computer networking equipment, monitors,

 materials and supplies that moved through interstate commerce while towing vehicles that have

 moved through interstate commerce from the lots of businesses that also engaged in interstate

 commerce.

        10.        Furthermore, Defendants obtain, solicit, exchange and send funds to and from

 outside of the State of Florida, regularly and routinely use telephonic transmissions going outside

 of the State of Florida to conduct business, and transmit electronic information through

 computers, the internet, via email, and otherwise outside of the State of Florida in the course of

 their business.
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         11.     Defendants’ annual gross revenues derived from this interstate commerce are

 believed to be in excess of $500,000.00 for the relevant time period and/or more than $125,000

 for each relevant annual fiscal quarter.

         12.     Plaintiff’s work for Defendants was actually in or so closely related to the

 movement of commerce while he worked for Defendants that the Fair Labor Standards Act

 applies to Plaintiff’s work for Defendants.

         13.     In particular, Plaintiff as a tow truck driver for Defendants.

         14.     Defendants agreed to pay Plaintiff at a (piece) rate of $22.00 for each time that

 that he connected a vehicle to the tow truck (per “hook up”).

         15.     Plaintiff regularly and routinely worked 5 shifts per week for Defendants during

 his employment, with each shift lasting 13 hours, such that he normally worked approximately 65

 hours per week for Defendants.

         16.     Plaintiff worked for Defendants from about August 2014 to September 7, 2018.

         17.     To the extent that records exist regarding the exact dates of Plaintiff’s

 employment exist, such records are in the exclusive custody of Defendants.

         18.     Any/all conditions precedent to filing this lawsuit occurred and/or was satisfied

 by Plaintiff.

         19.     Plaintiff retained the undersigned counsel and agreed to pay a reasonable fee for

 all services rendered.

                    COUNT I – FLSA MINIMUM WAGE VIOLATION(S)

         Plaintiff reincorporates and re-alleges all preceding paragraphs as though set forth fully

 herein and further alleges as follows:


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           20.    Defendants failed and refused to pay Plaintiff at lease a minimum wage of $7.25

 per hour for each of the hours that he worked for Defendants during the three (3) years prior to

 the filing of this lawsuit.

           21.    Defendants at all times material knew of the minimum wage and recordkeeping

 requirements imposed by the FLSA as a result of their having been sued previously for violating

 the FLSA.

           22.    Defendants willfully and intentionally refused to pay Plaintiff at least a minimum

 wage per hour for each of the hours that he worked for Defendants during the relevant time

 period.

           23.    Defendants either recklessly failed to investigate whether their failure to timely pay

 Plaintiff at least a minimum wage for the hours worked during the relevant time period violated

 the Federal Wage Laws of the United States, they intentionally misled Plaintiff to believe that

 Defendant were not required to pay him, and/or Defendants concocted a scheme pursuant to

 which they deprived Plaintiff the minimum wages he earned.

           24.    Plaintiff is entitled to a back pay award of minimum wages for all unpaid hours

 worked, plus an equal amount as a penalty, plus all attorneys’ fees and costs.

           WHEREFORE Plaintiff, Jose A. Gonzalez, demands the entry of a judgment in his favor

 and against Defendants, Tremont Towing, Inc. and Manny E. Diaz, Jr., jointly and severally,

 after trial by jury and as follows:

                  a.      That Plaintiff recover compensatory minimum wage damages and an

                          equal amount of liquidated damages as provided under the law and in 29

                          U.S.C. § 216(b) – or interest on the unpaid wages if no liquidated damages

                          are awarded;
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                  b.       That Plaintiff recover pre-judgment interest on all unpaid minimum wages

                           if the Court does not award liquidated damages;

                  c.       That Plaintiff recover an award of reasonable attorneys fees, costs, and

                           expenses pursuant to the FLSA;

                  d.       That Plaintiff recover all interest allowed by law;

                  e.       That Defendants be Ordered to make Plaintiff whole by providing

                           appropriate minimum pay and other benefits wrongly denied in an

                           amount to be shown at trial and other affirmative relief;

                  f.       That the Court declare Defendants to be in willful violation of the

                           minimum provisions of the FLSA; and

                  g.       Such other and further relief as the Court deems just and proper.

                           COUNT II – FLSA OVERTIME VIOLATION(S)

         Plaintiff reincorporates and re-alleges paragraphs 1 through 19 as though set forth fully

 herein and further alleges as follows:

         25.      Plaintiff worked more than 40 hours per week hours for Defendants but did not

 receive overtime pay calculated at one and one-half times his regular rate of pay of at least the

 Florida minimum wage for the overtime hours he worked during the three (3) years prior to the

 filing of this lawsuit.

         26.      Defendants at all times material knew of the overtime and recordkeeping

 requirements imposed by the FLSA as a result of their having been sued previously for violating

 the FLSA.




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         27.        Defendants willfully and intentionally refused to pay Plaintiff wages at a rate of

 one and one-half times his regular rate of pay for each of the overtime hours he worked during

 his last two weeks of work.

         28.        Defendants either recklessly failed to investigate whether their failure to pay

 Plaintiff an overtime wage for all overtime hours worked violated the Federal Wages Laws of the

 United States, they intentionally misled Plaintiff to believe that Defendants were not required to

 pay overtime, and/or Defendants concocted a scheme pursuant to which they deprived Plaintiff

 of the over time pay earned, and then failed to timely correct their violation after having known

 and been put in notice of same.

         29.        Plaintiff is entitled to a back pay award of overtime wages for all overtime hours

 worked, plus an equal amount as a penalty, plus all attorney’s fees and costs.

       WHEREFORE Plaintiff, Jose A. Gonzalez, demands the entry of a judgment in his favor

 and against Defendants, Tremont Towing, Inc. and Manny E. Diaz, Jr., jointly and severally,

 after trial by jury and as follows:

               a.     That Plaintiff recover compensatory overtime wage damages and an equal

                      amount of liquidated damages as provided under the law and in 29 U.S.C. §

                      216(b) – or interest on the unpaid wages if no liquidated damages are awarded;

               b.     That Plaintiff recover pre-judgment interest on all unpaid overtime wages if the

                      Court does not award liquidated damages;

               c.     That Plaintiff recover an award of reasonable attorneys fees, costs, and

                      expenses pursuant to the FLSA;

               d.     That Plaintiff recover all interest allowed by law;


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          e.    That Defendants be Ordered to make Plaintiff whole by providing appropriate

                 overtime pay and other benefits wrongly denied in an amount to be shown at

                 trial and other affirmative relief;

          f.    That the Court declare Defendants to be in willful violation of the overtime

                 provisions of the FLSA; and

          g.    Such other and further relief as the Court deems just and proper.

                                DEMAND FOR JURY TRIAL

      Plaintiff demands a trial by jury of all issues so triable.

      Dated this 15th day of October, 2018.

                                                       Respectfully Submitted,

                                                       FAIRLAW FIRM
                                                       Counsel for Plaintiff
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